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                             UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

    OWEN GEORG,

                           Plaintiff,

    v.                                                     Case No: 6:15-cv-141-Orl-31GJK

    FORD MOTOR CO.,

                           Defendant.



                                JUDGMENT IN A CIVIL ACTION

          This action was tried by a jury with United States District Judge Gregory A.

    Presnell presiding. The jury having rendered a verdict in favor of Defendant Ford Motor

    Co., judgment is hereby entered for Defendant, with costs against the Plaintiff.

          March 29, 2017


                                              BY: s/ Lisa Maurey
                                                  Lisa Maurey, Courtroom Deputy Clerk



    Copies furnished to:

    Counsel of Record
    Unrepresented Party
